         Case 3:23-mj-00632-TWD Document 22 Filed 11/22/23 Page 1 of 1




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA

       v.                                          Case No. 3:23-MJ-0682 (TWD)

PATRICK DAI,

              Defendant.

_____________________________________


                                    NOTICE OF APPEAL

       Notice is hereby given that the above-named Defendant hereby appeals to the United

States District Court for the Northern District of New York from the Detention Order by U.S.

Magistrate Judge Thérèse Wiley Dancks entered on November 9, 2023.

Dated: November 22, 2023

                                                   Respectfully submitted,

                                                   /s/ Lisa Peebles
                                                   Federal Public Defender
                                                   4 Clinton Square, 3rd Floor
                                                   Syracuse, New York 13202
                                                   (315) 701-0080
